              Case 2:23-ap-01426-DS                    Doc 9 Filed 11/17/23 Entered 11/17/23 14:42:51                                     Desc
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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
    Email Address

Frank E. Marchetti (SBN 203185)
Marchetti Law
3731 Wilshire Blvd., Suite 635
Los Angeles, CA 90010
Telephone (626) 676-6377
Email: frank@marchettilaw.com




         Individual appearing without an attorney
         Attorney for: Complete Industrial Repair, Inc.

                                            UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                                   DIVISION

    In re:                                                                      CASE NO.: 2:23-ap-01426-DS
TOBY TORRES                                                                     CHAPTER: 7
______________________________________________
COMPLETE INDUSTRIAL REPAIR, INC.
                       Plaintiff                                                NOTICE OF LODGMENT OF ORDER IN
      vs.                                                                       BANKRUPTCY CASE RE: (title of motion 1):
TOBY EDWARD TORRES                                                              MOTION TO DISMISS
                       Defendant                                                ADVERSARY COMPLAINT
                                                                  'HEWRU V


PLEASE TAKE NOTE that the order titled ORDER DENYING MOTION TO DISMISS ADVERSARY COMPLAINT


was lodged on (date)           11/17/2023          and is attached. This order relates to the motion which is docket number 3                     .




1
    Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
   11/17/2023       I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
 Richard Heston rheston@hestonlaw.com
 Howard M. Ehrenberg (TR) ehrenbergtrustee@gmlaw.com, ca25@ecfcbis.com, C123@ecfcbis.com,
 howard.ehrenberg@ecf.courtdrive.com, Karen.Files@gmlaw.com
 United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                                                               Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) _______________,11/17/2023       I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
  Hon. Deborah J. Saltzman
  United States Bankruptcy Court
  Central District of California
  Edward R. Roybal Federal Building and Courthouse
                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

11/17/2023            Frank Marchetti                                                        /s/ Frank E. Marchetti
Date                       Printed Name                                                       Signature




       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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 1   Frank E. Marchetti (SBN 203185)
     MARCHETTI LAW
 2   3731 Wilshire Boulevard, Suite 635
     Los Angeles, CA 90010
 3   Telephone: (626) 676-6377
     Email: frank@marchettilaw.com
 4
     Attorneys for Creditor Complete Industrial Repair, Inc.
 5

 6                            UNITED STATE BANKRUPTCY COURT

 7                   CENTRAL DISTRICT OF CALIFORNIA (LOS ANGELES)

 8

 9   In re TOBY TORRES,                                 Case No. 2:23-bk-13864-DS
10                     Debtor.                          Chapter 7
     ____________________________________
11
                                                        Adv. No. 2:23-ap-01426-DS
12   COMPLETE INDUSTRIAL REPAIR, INC..
                                                        ORDER DENYING MOTION TO
13                         Plaintiff,                   DISMISS ADVERSARY COMPLAINT
          vs.
14                                                      Date: November 16, 2023
     TOBY EDWARD TORRES                                 Time: 11:30 a.m.
15                                                      Courtroom: 1639
                           Defendant,
16

17

18           Defendant Toby Torres’s Motion to Dismiss the Adversary Complaint of Complete
19   Industrial Repair For Failure To State a Claim came on regularly for hearing on November 16,
20   2023.
21           Appearances were noted on the record.

22           Upon reviewing the moving and opposing papers and all pleadings on file herein, and

23   after permitting oral argument by counsel on the issues, GOOD CAUSE APPEARING

24   THEREFOR, IT IS HEREBY ORDERED that Toby Torres’s Motion to Dismiss the Adversary

     Complaint of Complete Industrial Repair For Failure To State a Claim is DENIED.
25

26

27                                                -1-
                                             Opposition Brief
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 1          Defendant Toby Torres shall have three weeks from the date of this Order to file an

 2   Answer to the Complaint.

 3          Additionally, the November 30, 2023 Status Conference is rescheduled to February 1,

     2024 at 11:30 a.m.
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27                                                -2 -
                                                 Order
